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                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEW JERSEY


   NINA AGDAL,
                                                          Civil Action No. 23-16873 (MCA) (MAH)
                                 Plaintiff,

                      v.

   DILLON DANIS,                                                         ORDER

                                 Defendant.



         THIS MATTER having come before the Court for status conference held on the record

  on August 27, 2024;

         and the Court having considered, and the parties having discussed, Plaintiff’s August 23,

  2024 letter [D.E. 66] concerning the recent disclosure by Defendant Danis that his cellular

  telephone was damaged in or around January 2024, and Defendant’s August 26, 2024 letter in

  response [D.E. 67];

         and for the reasons set forth on the record on August 27, 2024;

         and for good cause shown;

         IT IS on this 27th day of August 2024,

         ORDERED THAT

                 1.        Plaintiff Nina Agdal’s renewed request that the Court require Defendant
                           Dillon Danis to engage, at his own expense, the services of a forensic
                           vendor to, inter alia, ascertain whether the text messages on the damaged
                           cellular telephone are recoverable, is denied without prejudice.

                 2.        By or before 5:00 p.m. on August 29, 2024, Mr. Danis shall provide his
                           attorney with the damaged cellphone. Defense counsel shall retain
                           custody of the damaged cellphone until the parties agree otherwise, or
                           further Order of the Court.
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               3.    In addition to the substantive deposition of Mr. Danis on the liability and
                     damages issues in this matter, Plaintiff is granted leave to depose Mr.
                     Danis concerning the damaged cellular telephone as well as his efforts to
                     preserve discoverable material and comply with his discovery obligations
                     in this matter. Absent agreement of all parties to the contrary, this
                     discovery deposition shall precede the substantive deposition of Mr. Danis
                     on issues of liability and damages.

               4.    Within three business days of the scheduling of Mr. Danis’s discovery
                     deposition, the parties shall inform the Court of the date of that deposition
                     and propose the date for the next status conference.

               5.    The current discovery deadlines are held in abeyance and will be re-set at
                     the next status conference.

               6.    Any future discovery dispute shall be presented to the Court as a joint
                     discovery dispute letter. Each party is limited to a maximum of three
                     double-spaced pages.




                                                    s/ Michael A. Hammer___________
                                                    Hon. Michael A. Hammer
                                                    United States Magistrate Judge
